Case 1:23-md-03076-KMM Document 768 Entered on FLSD Docket 10/30/2024 Page 1 of 32




                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA


    IN RE: FTX CRYPTOCURRENCY EXCHANGE                     MDL No. 3076
    COLLAPSE LITIGATION
                                                           Case No. 23-md-03076-KMM



    THIS DOCUMENT RELATES TO:

    Lahav et al. v. Binance Holdings Limited et al.,
    No. 1:24-cv-21421-MOORE



       REPLY MEMORANDUM OF LAW IN SUPPORT OF DEFENDANTS BINANCE
                HOLDINGS LIMITED AND CHANGPENG ZHAO’S
               MOTION TO DISMISS THE AMENDED COMPLAINT

                                                  Samson A. Enzer
                                                  Herbert S. Washer
                                                  Tammy L. Roy
                                                  Miles C. Wiley
                                                  CAHILL GORDON & REINDEL LLP
                                                  32 Old Slip
                                                  New York, NY 10005
                                                  Telephone: (212) 701-3000

                                                  Attorneys for Binance Holdings Limited and
                                                  Changpeng Zhao

                                                  Aaron S. Weiss
                                                  CARLTON FIELDS P.A.
                                                  700 NW 1st Ave., Ste. 1200
                                                  Miami, FL 33136
                                                  Telephone: 305-530-0050

                                                  Benjamin M. Stoll
                                                  John L. Gibbons
                                                  CARLTON FIELDS P.A.
                                                  1025 Thomas Jefferson St. NW, Ste. 400W
                                                  Washington, DC 20007
                                                  Telephone: 202-986-8160

                                                  Attorneys for Binance Holdings Limited
Case 1:23-md-03076-KMM Document 768 Entered on FLSD Docket 10/30/2024 Page 2 of 32



                                                        TABLE OF CONTENTS
                                                                                                                                              Page

   TABLE OF AUTHORITIES ...............................................................................................................ii

   PRELIMINARY STATEMENT ......................................................................................................... 1

   ARGUMENT ........................................................................................................................................ 2

        I.       THIS COURT LACKS PERSONAL JURISDICTION OVER FOREIGN
                 DEFENDANTS BHL AND MR. ZHAO ............................................................................ 2

        II.      PLAINTIFF FAILS TO STATE A CLAIM UNDER THE FEDERAL SECURITIES
                 LAWS (COUNTS I & II) ..................................................................................................... 5

        A.         Plaintiff Fails to Plead a Misstatement or Omission........................................................ 5

        B.         Plaintiff Fails to Plead that Defendants Made Any Statement “In Connection
                   With” the Purchase or Sale of a Security ......................................................................... 7

        C.         Plaintiff Fails to Plead a Strong Inference of Scienter .................................................. 10

        D.         Plaintiff Fails to Plead Reliance ...................................................................................... 11

        E.         Plaintiff Fails to Plead Loss Causation ........................................................................... 13

        F.         Plaintiff Fails to Plead Market Manipulation ................................................................. 14

        G.         Plaintiff Cannot Plead a Claim under Section 17(a) ...................................................... 14

        III.     PLAINTIFF FAILS TO STATE A CLAIM UNDER CALIFORNIA STATUTORY
                 LAW (COUNTS III & IV) ................................................................................................. 15

        A.         Plaintiff Fails To State a Claim Under California’s UCL ............................................. 15

        B.         Plaintiff Fails to State a Claim for Secondary Liability Under the California
                   Corporations Code ........................................................................................................... 18

        IV. PLAINTIFF FAILS TO STATE A CLAIM UNDER CALIFORNIA COMMON LAW
            (COUNTS V, VI, VII) ........................................................................................................ 21

        A.         Plaintiff Fails to State a Claim for Intentional Misrepresentation or Negligent
                   Misrepresentation ............................................................................................................. 21

        B.         Plaintiff Fails To State a Claim for Unjust Enrichment ................................................ 23

        V.       THIS COURT SHOULD DENY PLAINTIFF’S CONDITIONAL REQUEST FOR
                 LEAVE TO AMEND ......................................................................................................... 24

   CONCLUSION ................................................................................................................................... 25

                                                                          -i-
Case 1:23-md-03076-KMM Document 768 Entered on FLSD Docket 10/30/2024 Page 3 of 32




                                                        TABLE OF AUTHORITIES

   Cases

   Affiliated Ute Citizens v. U.S., 406 U.S. 128 (1972) ..................................................................11, 13

   Apex Directional Drilling, LLC v. SHN Consulting Eng’r & Geologists, Inc., 119 F.
     Supp. 3d 1117 (N.D. Cal. 2015) .................................................................................................... 23

   Astiana v. Hain Celestial Grp., Inc., 783 F.3d 753 (9th Cir. 2015) ................................................ 24

   Blixseth v. Disilvestri, 2013 WL 12063940 (S.D. Fla. Jan. 31, 2013) .............................................. 4

   Breaux v. NCL (Bahamas) Ltd., 2021 WL 2637217 (S.D. Fla. Feb. 22, 2021) ............................... 5

   Chiron Recovery Ctr., LLC v. United Healthcare Servs, Inc., 438 F. Supp. 3d 1346 (S.D.
     Fla. 2020) ........................................................................................................................................ 25

   Coast Surgery Ctr. v. United Healthcare Ins. Co., 2024 WL 650174 (C.D. Cal. Jan. 5,
     2024)................................................................................................................................................ 24

   Colman v. Theranos, Inc., 325 F.R.D. 629 (N.D. Cal. 2018) .......................................................... 18

   Currie v. Cayman Res. Corp., 835 F.2d 780 (11th Cir. 1988) ........................................................ 14

   Daimler AG v. Bauman, 571 U.S. 117 (2014) .................................................................................... 3

   Dorman v. Aronofsky, 36 F.4th 1306 (11th Cir. 2022) .................................................................... 16

   Elias v. Hewlett-Packard Co., 903 F. Supp. 2d 843 (N.D. Cal. 2012) .....................................15, 17

   Figy v. Amy’s Kitchen, Inc., 2013 WL 6169503 (N.D. Cal. Nov. 25, 2013).................................. 18

   Fuqua v. Turner, 996 F.3d 1140 (11th Cir. 2021).............................................................................. 5

   Goldberger v. Bear, Stearns Co., 2000 WL 1886605 (S.D.N.Y. Dec. 28, 2000) .......................... 10

   GolTV, Inc. v. Fox Sports Latin Am. Ltd., 277 F. Supp. 3d 1301 (S.D. Fla. 2017)..................19, 20

   Gonzalez v. BAM Trading Services, Inc., 2024 WL 4589791 (D.N.J. Oct. 28, 2024) ..................... 3

   Great Fla. Bank v. Countrywide Home Loans, Inc., 2011 WL 382588 (S.D. Fla. Feb. 3,
     2011).................................................................................................................................................. 7

   Halliburton Co. v. Erica P. John Fund, Inc., 573 U.S. 258 (2014) ................................................ 12

   Haynish v. Bank of Am., N.A., 284 F. Supp. 3d 1037 (N.D. Cal. 2018) ......................................... 18

   HomeLight, Inc. v. Shkipin, 2024 WL 940089 (N.D. Cal. Mar. 5, 2024) ....................................... 16


                                                                              -ii-
Case 1:23-md-03076-KMM Document 768 Entered on FLSD Docket 10/30/2024 Page 4 of 32


                                                                                                                                                  Page(s)

   In re: Altisource Portfolio Sols., S.A. Sec. Litig., 2015 WL 12001262 (S.D. Fla. Sept. 4,
      2015).................................................................................................................................................. 9

   In re: CCIV / Lucid Motors Sec. Litig., 110 F.4th 1181 (9th Cir. 2024) .......................................8, 9

   In re Initial Pub. Offering Sec. Litig., 214 F.R.D. 117 (S.D.N.Y. Dec. 22, 2002) ......................... 10

   In re January 2021 Short Squeeze Trading Litig., 584 F. Supp. 3d 1161 (S.D. Fla. 2022)........... 25

   In re January 2021 Short Squeeze Trading Litig., 620 F. Supp. 3d 1231 (S.D. Fla. 2022)........... 14

   In re January 2021 Short Squeeze Trading Litig., 2023 WL 9035671 (S.D. Fla. Nov. 13,
      2023)................................................................................................................................................ 13

   In re Mullen Auto. Sec. Litig., 2023 WL 8125447 (C.D. Cal. Sep. 28, 2023) .................................. 9

   In re REMEC Inc. Sec. Litig., 702 F. Supp. 2d 1202 (S.D. Cal. 2010) ........................................... 22

   In re Smith Gardner Sec. Litig., 214 F. Supp. 2d 1291 (S.D. Fla. 2002) .......................................... 7

   In re Wyse Tech. Sec. Litig., 744 F. Supp. 207 (N.D. Cal. 1990) .................................................... 23

   Jackson v. Fischer, 931 F. Supp. 2d 1049 (N.D. Cal. 2013) ........................................................... 15

   Jones v. Bank of Am., N.A., 564 F. App'x 432 (11th Cir. 2014) ...................................................... 19

   Knepfle v. J-Tech Corp., 48 F.4th 1282 (11th Cir. 2022) .................................................................. 4

   Loc. 703, I.B. of T. Grocery & Food Emps. Welfare Fund v. Regions Fin. Corp., 762 F.3d
     1248 (11th Cir. 2014) ..................................................................................................................... 12

   Licht v. Watson, 567 F. App’x 689 (11th Cir. 2014).......................................................................... 8

   MacPhee v. MiMedx Grp., Inc., 73 F.4th 1220 (11th Cir. 2023) .................................................... 14

   Mazza v. Am. Honda Motor Co., Inc., 666 F.3d 581 (9th Cir. 2012).............................................. 18

   McGee v. Am. Oriental Bioengineering, Inc., 2014 WL 12586107 (C.D. Cal. Sept. 23,
    2014)................................................................................................................................................ 22

   McKally v. Perez, 87 F. Supp. 3d 1310 (S.D. Fla. 2015)................................................................... 7

   Menora Mivtachim Ins. Ltd. v. Frutarom Indus. Ltd., 54 F.4th 82 (2d Cir. 2022) .......................... 8

   Merrill Lynch, Pierce, Fenner & Smith Inc. v. Dabit, 547 U.S. 71 (2006) ...................................... 8

   Miller v. Gizmodo Media Grp., LLC, 383 F. Supp. 3d 1365 (S.D. Fla. 2019) ................................. 5

   Moore v. Mars Petcare US, Inc., 966 F.3d 1007 (9th Cir. 2020) .................................................... 17


                                                                              -iii-
Case 1:23-md-03076-KMM Document 768 Entered on FLSD Docket 10/30/2024 Page 5 of 32


                                                                                                                                              Page(s)

   Moss v. Kroner, 197 Cal. App. 4th 860 (Cal. Ct. App. 2011) ......................................................... 20

   Murphy v. F.D.I.C., 208 F.3d 959 (11th Cir. 2000) ........................................................................... 3

   Ontario Pub. Serv. Emps. Union Pension Tr. Fund v. Nortel Networks Corp., 369 F.3d
     27 (2d Cir. 2004)............................................................................................................................... 9

   Principle Sols. Grp., LLC v. Ironshore Indem., Inc., 944 F.3d 886 (11th Cir. 2019) .................... 13

   Quesada v. Better Earth, Inc., 2024 WL 3890077 (M.D. Fla. Aug. 21, 2024) ................................ 4

   Rabin v. Google LLC, 2023 WL 4053804 (N.D. Cal. June 15, 2023) ............................................ 24

   RMS Titanic, Inc. v. Zaller, 978 F. Supp. 2d 1275 (N.D. Ga. 2013)................................................. 4

   Rojas-Lozano v. Google, Inc., 159 F. Supp. 3d 1101 (N.D. Cal. 2016) ...................................17, 18

   Romoff v. Gen. Motors LLC, 574 F. Supp. 3d 782 (S.D. Cal. 2021), aff’d, 2023 WL
     1097258 (9th Cir. Jan. 30, 2023) ................................................................................................... 17

   Rosenberg v. Gould, 554 F.3d 962 (11th Cir. 2009) ........................................................................ 11

   SEC v. Ripple Labs, Inc., 682 F. Supp. 3d 308 (S.D.N.Y. 2023) ...................................................... 8

   Semerenko v. Cendant Corp., 223 F.3d 165 (3rd Cir. 2000) ............................................................. 9

   Siegler v. Curb Call, Inc., 2017 WL 6730095 (S.D. Cal. Dec. 29, 2017) ...................................... 24

   Siegmund v. Xuelian Bian, 2018 WL 1611197 (S.D. Fla. Apr. 2, 2018) ........................................ 25

   Small v. Fritz Cos., Inc., 30 Cal. 4th 167 (2003) ................................................................................ 8

   Smith v. Smith, 184 F.R.D. 420 (S.D. Fla. 1998) ............................................................................. 14

   Stone v. Shafran, 641 F. Supp. 3d 1344 (S.D. Fla. Nov. 21, 2022) .................................................. 5

   Tanne v. Autobytel, Inc., 226 F.R.D. 659 (C.D. Cal. 2005) ............................................................. 10

   U.S. ex rel. 84Partners, LLC v. Nuflo, Inc., 79 F.4th 1353 (11th Cir. 2023) ................................. 25

   Universal Health Servs., Inc. v. US, 579 U.S. 176 (2016)................................................................. 6

   Veritas Legal Plan, Inc. v. Freedom Legal Plans, LLC, 2023 WL 11802483 (S.D. Fla.
     Dec. 6, 2023) ..................................................................................................................................... 4

   Wilding v. DNC Servs. Corp., 941 F.3d 1116 (11th Cir. 2019)....................................................... 10

   Zelman v. JDS Uniphase Corp., 376 F. Supp. 2d 956 (N.D. Cal. 2005) .......................................... 9



                                                                           -iv-
Case 1:23-md-03076-KMM Document 768 Entered on FLSD Docket 10/30/2024 Page 6 of 32


                                                                                                                                      Page(s)

   Statutes

   Cal. Corp. Code § 25110 .................................................................................................................... 18

   Cal. Corp. Code § 25401 ..............................................................................................................15, 19

   Cal. Corp. Code § 25504.1 ................................................................................................................. 18




                                                                        -v-
Case 1:23-md-03076-KMM Document 768 Entered on FLSD Docket 10/30/2024 Page 7 of 32




                                  PRELIMINARY STATEMENT1

          As described in detail in Defendants’ MTD, Plaintiff’s Amended Complaint is built on an

   absurd premise. Despite acknowledging the criminal behavior of FTX insiders that led to FTX’s

   downfall and 25-year prison sentence for its former CEO, Plaintiff asks the Court to accept that

   two truthful tweets in November 2022 by BHL’s then-CEO, Mr. Zhao—published after FTX’s

   collapse began—were the true cause of FTX’s collapse. Plaintiff simply does not address this

   fundamental contradiction. Instead, Plaintiff’s Opposition merely rehashes the allegations of the

   Amended Complaint, impermissibly raises new alleged facts and theories for the first time in the

   Opposition, and responds to arguments that Defendants simply did not make in their MTD.2

   Indeed, the Opposition largely ignores Defendants’ arguments and, where it does purport to

   respond to Defendants’ arguments, relies on inapposite cases or no cases at all. Even worse, at

   times the Opposition ignores controlling authority that plainly forecloses Plaintiff’s arguments. In

   short, the Opposition fails to rebut Defendants’ showing that the claims should be dismissed.

          First, Plaintiff fails to establish personal jurisdiction over BHL or Mr. Zhao because they

   are not at home in the United States and do not have the minimum contacts required for specific

   jurisdiction. In response, Plaintiff argues that the Court can exercise personal jurisdiction over

   BHL and Mr. Zhao because: they have significant operations in the United States; BHL and the

   Binance U.S. Defendants are alter egos of Mr. Zhao; BHL and Mr. Zhao have numerous non-suit



   1 In this memorandum, abbreviated terms refer to the defined terms in Defendants’ Motion to

   Dismiss (ECF No. 707, “MTD”). “Opposition” and “Opp.” refer to Plaintiff’s Opposition to BHL
   and Mr. Zhao’s MTD (ECF No. 744). “Motion for Leave” refers to Plaintiff’s Opposed
   Conditional Motion for Leave to File Second Amended Complaint (ECF No. 746). Unless
   otherwise noted, emphasis is added and internal citations, quotations, and bracketed alterations are
   omitted.
   2 For example, Plaintiff argues that he sufficiently pleads subject matter jurisdiction (Opp. at 22-

   23) and materiality (Opp. at 30).
Case 1:23-md-03076-KMM Document 768 Entered on FLSD Docket 10/30/2024 Page 8 of 32




   related contacts with the forum; and they have waived their personal jurisdiction arguments.

   Controlling authorities undermine each of these arguments.

           Second, Plaintiff does not plausibly allege that either of Mr. Zhao’s tweets were false or

   misleading. To infer falsity, Plaintiff asks the Court to adopt a twisted reading of the tweets or

   assume that the statements were half-truths. These arguments fail.

           Third, Plaintiff lacks standing to pursue his securities law claims because he did not allege

   that he traded in securities that were the subject of Defendants’ alleged misstatements. Plaintiff’s

   assertions that he may assert “holder” claims related to instruments that were not the subject of

   Mr. Zhao’s tweets are legally incorrect, and he fails to plead that these instruments were securities.

           Fourth, Plaintiff fails to allege that Defendants acted with scienter. In the Opposition,

   Plaintiff rehashes flawed scienter allegations from his Amended Complaint and points to a series

   of post-hoc statements that he says show scienter. But none of these allegations raise, as Rule 9(b)

   requires, an inference that is at least as compelling as plausible inferences of non-fraudulent intent.3

           Finally, Plaintiff’s claims fail for multiple other independent reasons, including that

   Plaintiff has not properly pleaded reliance, causation, or that Defendants owed Plaintiff any duty.

           As set forth below, these deficiencies compel dismissal of all of Plaintiff’s claims.

                                               ARGUMENT

   I.      THIS COURT LACKS PERSONAL                         JURISDICTION          OVER       FOREIGN
           DEFENDANTS BHL AND MR. ZHAO

           Plaintiff fails to allege personal jurisdiction over BHL and Mr. Zhao because they are not

   at home in the forum, Plaintiff’s claims do not arise out of or relate to their contacts with the forum,




   3 All of Plaintiff’s claims sound in fraud and therefore are subject to the heightened pleading

   standard of Federal Rule 9(b). (See MTD at 8, 31 n.28, 36, 38, 38 n.35, 39 n.36).


                                                     -2-
Case 1:23-md-03076-KMM Document 768 Entered on FLSD Docket 10/30/2024 Page 9 of 32




   they did not purposefully avail themselves of the forum, and they could not have reasonably

   anticipated being haled into it. (MTD at 9-12). Nothing in the Opposition changes this analysis. 4

          This Court does not have general jurisdiction over BHL or Mr. Zhao because they are not

   “at home” in the forum. (MTD at 9-10). Plaintiff asserts that Defendants’ operations in the United

   States create general jurisdiction. (Opp. at 20). But general jurisdiction is appropriate only when

   a defendant is incorporated or domiciled in the forum, has their principal place of business within

   the forum, or in “exceptional case[s]” where a corporation’s activities in a forum are so substantial

   that they are at home there. Daimler AG v. Bauman, 571 U.S. 117, 139 n.19 (2014). Plaintiff does

   not even attempt to allege any facts that could justify jurisdiction on these bases. See Gonzalez v.

   BAM Trading Services, Inc., 2024 WL 4589791, at *7 (D.N.J. Oct. 28, 2024) (no personal

   jurisdiction over BHL and Mr. Zhao where plaintiff failed to allege “continuous and systematic”

   contacts with forum state).

          Plaintiff also asserts an “alter ego theory,” 5 arguing that the Court may exercise general

   jurisdiction here because the Binance U.S. Defendants are subject to general jurisdiction in the

   United States, and Mr. Zhao allegedly operated and controlled BHL and the Binance U.S.

   Defendants. (Opp. at 7-9). This argument (advanced without supporting authority) should be

   rejected. To plead alter ego jurisdiction, a plaintiff must allege (1) domination and control by the

   non-resident defendant over the resident defendant sufficient to pierce the corporate veil; (2) that

   the corporate form was for a fraudulent purpose; and (3) that fraudulent purpose harmed the



   4
    The Court should apply Eleventh Circuit law to its analysis of Defendants’ personal jurisdiction
   challenge, which is grounded in due process protections. See Murphy v. F.D.I.C., 208 F.3d 959,
   964-66 (11th Cir. 2000) (a “transferee court should apply its own interpretation of federal law”).
   5 Plaintiff also asserts that “[t]hese entities are not distinct for purposes of liability, and group

   pleading is appropriate in this case[.]” (Opp. at 26). This is incorrect and group pleading is
   inappropriate. See ECF No. 708 at 3-4, 9-10, 10 n.6, 14.

                                                    -3-
Case 1:23-md-03076-KMM Document 768 Entered on FLSD Docket 10/30/2024 Page 10 of 32




    plaintiff. Veritas Legal Plan, Inc. v. Freedom Legal Plans, LLC, 2023 WL 11802483, at *3-4

    (S.D. Fla. Dec. 6, 2023); see also Blixseth v. Disilvestri, 2013 WL 12063940, at *9 (S.D. Fla. Jan.

    31, 2013) (“To sufficiently plead the alter ego theory, plaintiff must allege both that the resident

    corporation was a mere instrumentality of its shareholders, and that the corporation was used for

    improper conduct”). Also, “[t]he amount of control exercised by the parent must be high and very

    significant.” Knepfle v. J-Tech Corp., 48 F.4th 1282, 1292 (11th Cir. 2022). Here, Plaintiff asserts,

    without elaborating, that Mr. Zhao controlled BHL and the Binance U.S. Defendants. This is

    insufficient to meet the first element. 6 Furthermore, Plaintiff does not plead facts suggesting a

    fraudulent purpose, or that it injured him. Plaintiff’s “alter ego” argument fails.7

           Plaintiff also asserts that specific jurisdiction over Mr. Zhao and BHL is appropriate

    because Mr. Zhao’s tweets were “directed at U.S. cryptocurrency users,” “aimed at soliciting

    engagement from U.S. markets,” and “aimed at the U.S. cryptocurrency market[.]” (Opp. at 21).

    But these are conclusory arguments and Plaintiff fails to allege facts in the Amended Complaint

    suggesting that Mr. Zhao’s tweets were tailored to a United States audience.             Indeed, he

    specifically concedes that the tweets were “aimed at cryptocurrency users worldwide[.]” (Opp. at

    6). And as Defendants explained, “‘courts have uniformly rejected the argument that a tweet, not



    6
       See Quesada v. Better Earth, Inc., 2024 WL 3890077, at *5 (M.D. Fla. Aug. 21, 2024)
    (allegations that defendant companies were “functionally the same entity” were insufficient to
    establish alter ego jurisdiction); RMS Titanic, Inc. v. Zaller, 978 F. Supp. 2d 1275, 1302 n.23 (N.D.
    Ga. 2013) (plaintiffs’ conclusory statements that each of the corporate defendants were a “legal
    fiction,” “failed to adhere to required corporate formalities,” “abused the corporate form,” and
    “[did] not maintain any distinctions as to [their] functions and operations” were summary
    allegations and legal conclusions that did not support an alter ego theory of personal jurisdiction).
    7 Moreover, even if BAM were Mr. Zhao’s alter ego, that in itself would not establish jurisdiction

    over BHL. The jurisdictional contacts of a controlling parent corporation or a dominating
    individual cannot be imputed to its dominated alter ego. See RMS Titanic, Inc., 978 F. Supp. 2d
    at 1302 (rejecting argument that a subsidiary corporation would be subject to personal jurisdiction
    because the controlling parent is subject to personal jurisdiction).

                                                     -4-
Case 1:23-md-03076-KMM Document 768 Entered on FLSD Docket 10/30/2024 Page 11 of 32




    specifically directed to a forum state, is a sufficient minimum contact to confer personal

    jurisdiction under the Due Process Clause.’” (MTD at 11 (quoting Miller v. Gizmodo Media Grp.,

    LLC, 383 F. Supp. 3d 1365 (S.D. Fla. 2019))).

           Plaintiff further alleges that various non-suit related contacts—including litigation in the

    United States, plea agreements in unrelated cases, staff in the forum, and solicitation of users in

    the forum—create personal jurisdiction over Mr. Zhao and BHL. (Opp. at 6, 21). This is incorrect.

    Only suit-related contacts are relevant for the personal jurisdiction analysis. See Stone v. Shafran,

    641 F. Supp. 3d 1344, 1361 (S.D. Fla. Nov. 21, 2022) (“For a defendant to have sufficient

    minimum contacts with a forum, the defendant’s suit-related conduct must create a substantial

    connection with the forum state”). To the extent these alleged contacts connect BHL and Mr. Zhao

    to the United States, they are not related to this suit and therefore do not qualify as minimum

    contacts.

           Finally, Defendants have not waived their personal jurisdiction defenses. Waiving service

    of process does not waive personal-jurisdiction objections. Breaux v. NCL (Bahamas) Ltd., 2021

    WL 2637217, at *3 (S.D. Fla. Feb. 22, 2021). Waiver arises when a party “fails to raise objections

    in its pre-answer motion to dismiss.” Fuqua v. Turner, 996 F.3d 1140, 1154 (11th Cir. 2021).

    Defendants raised their personal jurisdiction defenses in their pre-answer MTD.

    II.    PLAINTIFF FAILS TO STATE A CLAIM UNDER THE FEDERAL SECURITIES
           LAWS (COUNTS I & II)

           Plaintiff’s Amended Complaint fails to state any federal securities claims. (MTD at 12-

    30). And his scattershot Opposition does not salvage any of them.

           A.      Plaintiff Fails to Plead a Misstatement or Omission

           Plaintiff fails to sufficiently plead a misstatement or omission because the statements he

    identifies as misstatements—Mr. Zhao’s November 6th Tweet and November 8th Tweet—are


                                                    -5-
Case 1:23-md-03076-KMM Document 768 Entered on FLSD Docket 10/30/2024 Page 12 of 32




    neither false nor misleading. (MTD at 13-17). Plaintiff argues that the statements are actionable

    “half-truths,” and attempts to reframe them as having misled consumers about the timing of BHL’s

    decision to liquidate its FTT holdings, and that BHL would rescue FTX. (Opp. at 10).

           “Half-truths” are actionable when they “omit[] critical qualifying information” necessary

    to make them not misleading. Universal Health Servs., Inc. v. US, 579 U.S. 176, 188 (2016).

    Plaintiff’s proposed reframing does not make either of the tweets actionable. Plaintiff challenges

    Mr. Zhao’s November 6th Tweet—that “[d]ue to recent revelations that have came [sic] to light,

    we have decided to liquidate any remaining FTT on our books”—as misleadingly implying that

    BHL “had yet to begin selling its FTT holdings.” (Opp. at 9-10). This argument fails for two

    reasons. First, Plaintiff’s strained reading tortures the tweet’s plain language, which accurately

    implies that some (or even nearly all) FTT was already sold—that is exactly what “any remaining”

    signifies. Indeed, just two hours later Mr. Zhao confirmed that BHL made a large sale of FTT the

    day before. (AC ¶ 46). Second, the use of “decided” in the past tense accurately states that, prior

    to the tweet, BHL had decided to liquidate FTT holdings. Plaintiff’s attempt to manufacture a case

    by twisting Mr. Zhao’s words falls short. There was nothing false or misleading about the

    November 6th Tweet.

           Plaintiff’s challenge to the November 8th Tweet fares no better. Mr. Zhao wrote: “This

    afternoon, FTX asked for our help. There is a significant liquidity crunch. To protect users, we

    signed a non-binding [letter of intent], intending to fully acquire FTX.com and help cover the

    liquidity crunch. We will be conducting a full [due diligence] in the coming days.” (AC ¶ 53).

    Plaintiff claims this tweet is actionable because, based only on Plaintiff’s unsupported

    “information and belief,” Mr. Zhao purportedly never had a good faith intention to acquire FTX

    and thus “created a false impression.” (Id.; see also Opp. at 10-11, 38). Plaintiff’s conjecture



                                                    -6-
Case 1:23-md-03076-KMM Document 768 Entered on FLSD Docket 10/30/2024 Page 13 of 32




    about Mr. Zhao’s supposed intent comes nowhere close to stating a claim. See Great Fla. Bank v.

    Countrywide Home Loans, Inc., 2011 WL 382588, at *5-6 (S.D. Fla. Feb. 3, 2011) (dismissing

    fraud claim where plaintiff failed to plead facts showing defendant’s “specific knowledge” that

    statements were false); In re Smith Gardner Sec. Litig., 214 F. Supp. 2d 1291, 1300-01 (S.D. Fla.

    2002) (“on information and belief” allegations were insufficient to allege why the challenged

    statements were misleading). 8

           B.      Plaintiff Fails to Plead that Defendants Made Any Statement “In
                   Connection With” the Purchase or Sale of a Security

           Plaintiff has not satisfied the requirement that he demonstrate the alleged misstatements

    were made in connection with the purchase or sale of securities because Plaintiff’s own allegations

    confirm (i) there was no security at issue; (ii) Plaintiff did not purchase or sell anything; and (iii)

    Mr. Zhao’s statements were not about the unidentified “cryptocurrencies” Plaintiff held. (MTD at

    17-20; ECF No. 29-4 ¶ 4 (Plaintiff “made no transactions during the class period in the . . .

    securities” at issue)). In response, Plaintiff makes four arguments, none of which are availing.

           First, Plaintiff’s conclusory statements that FTT and other cryptocurrencies traded on FTX

    were “securities” does not change anything. (Opp. at 32-33). Plaintiff admits he did not trade

    FTT. As to other cryptocurrencies traded on FTX, Plaintiff now alleges for the first time that he

    sold a digital token, “XRP,” for a stablecoin, “USDT.” (Opp. at 39). Even if the Court were to

    consider these brand-new allegations—and it should not9—Plaintiff has not alleged facts sufficient


    8 Plaintiff acknowledges that Mr. Zhao included “cautionary language” in his Tweets but argues

    that it should not shield him from liability because Mr. Zhao failed to disclose that he never
    intended to rescue FTX and that his true motivation was to harm it. (Opp. at 30). There is nothing
    in the Amended Complaint beyond Plaintiff’s speculation to support this theory. This is also not
    a situation where cautionary language was deployed to mask known, material, adverse facts.
    Rather, Mr. Zhao truthfully explained that due diligence was required before any acquisition.
    9 “[A] complaint may not be amended by briefs in opposition to a motion to dismiss.”       McKally v.


                                                     -7-
Case 1:23-md-03076-KMM Document 768 Entered on FLSD Docket 10/30/2024 Page 14 of 32




    to plead that XRP or USDT were securities under the controlling Howey test. (See MTD at 18). 10

           Second, Plaintiff claims that he satisfies the purchase-or-sale requirement because the

    Supreme Court expanded the scope of standing to allow Section 10(b) claims by mere “holders”

    as well.11 (Opp. at 23-24 (citing Merrill Lynch, Pierce, Fenner & Smith Inc. v. Dabit, 547 U.S.

    71, 85 (2006))). Plaintiff is wrong. Dabit reaffirmed Blue Chip’s “purchase or sale” requirement

    for a private Section 10(b) claim, like Plaintiff’s claims, and then held that preemption under a

    different statute, the Securities Litigation Uniform Standards Act, applied not just to “purchasers

    or sellers” but also to holder classes. 547 U.S. at 80, 89. Dabit does not expand the scope of

    potential plaintiffs in a securities fraud action, and mere “holders,” like Plaintiff, do not have

    standing. Indeed, federal courts unanimously continue to apply the Blue Chip Stamps “purchase

    or sale” standing rule. See, e.g., Licht v. Watson, 567 F. App’x 689, 691 (11th Cir. 2014); In re:

    CCIV / Lucid Motors Sec. Litig., 110 F.4th 1181, 1185 (9th Cir. 2024); Menora Mivtachim Ins.

    Ltd. v. Frutarom Indus. Ltd., 54 F.4th 82, 86 (2d Cir. 2022).

           Third, relying on overruled district court decisions within the Ninth Circuit, Plaintiff asserts

    that he has standing because Rule 10b-5 does not require a link between the statement and the

    securities a plaintiff traded. (Opp. at 33-34). Wrong. Contrary to Plaintiff’s argument, numerous




    Perez, 87 F. Supp. 3d 1310, 1317 (S.D. Fla. 2015).
    10 Public sales of XRP that occur “on digital asset exchanges”—like Plaintiff’s transactions—also

    do “not constitute the offer and sale of investment contracts” and are therefore not securities
    transactions. SEC v. Ripple Labs, Inc., 682 F. Supp. 3d 308, 328-330 (S.D.N.Y. 2023).
    11 Plaintiff also alleges he has standing to bring his misrepresentation claims because California

    courts allow for holder claims. (See Opp. at 24 (citing Small v. Fritz Cos., Inc., 30 Cal. 4th 167,
    171 (2003)). But the California Supreme Court made clear that “[i]n a holder’s action a plaintiff
    must allege specific reliance on the defendant’s representation” and “such persons [who cannot
    allege specific reliance] cannot bring individual or class actions for fraud or misrepresentation.”
    Small, 30 Cal. 4th at 184-85. Here, Plaintiff pleads no reliance, let alone specific reliance, and
    therefore has no standing. See infra Section II.D.

                                                     -8-
Case 1:23-md-03076-KMM Document 768 Entered on FLSD Docket 10/30/2024 Page 15 of 32




    courts throughout the country have held that only plaintiffs trading in the security about which the

    alleged misrepresentations were made have standing to pursue 10(b) claims. See, e.g., Ontario

    Pub. Serv. Emps. Union Pension Tr. Fund v. Nortel Networks Corp., 369 F.3d 27, 34 (2d Cir.

    2004) (“Stockholders do not have standing to sue . . . when the company whose stock they

    purchased is negatively impacted by the material misstatement of another company”). Plaintiff

    argues that the Nortel court’s approach is not widely accepted and cites two district court cases

    that attempted to distinguish Nortel. (Opp. at 34 (citing In re Mullen Auto. Sec. Litig., 2023 WL

    8125447 (C.D. Cal. Sep. 28, 2023)); Zelman v. JDS Uniphase Corp., 376 F. Supp. 2d 956 (N.D.

    Cal. 2005))). But those cases are now bad law. See CCIV, 110 F.4th at 1185 (applying the Nortel

    “bright-line rule” that Section 10(b) standing is limited “to purchasers and sellers of the security

    about which the alleged misrepresentations were made”). Although the Eleventh Circuit has not

    yet weighed in, this Court should follow the well-reasoned opinions of the Second and Ninth

    Circuits and hold that Plaintiff lacks standing because Plaintiff has not alleged a connection

    between his alleged transactions and the statements at issue. 12 See In re: Altisource Portfolio Sols.,

    S.A. Sec. Litig., 2015 WL 12001262, at *4 (S.D. Fla. Sept. 4, 2015) (applying Nortel).

           Finally, Plaintiff argues that his lack of equity ownership in the FTX Group does not bar

    his claims, because he may assert them on behalf of other named plaintiffs in the MDL. (Opp. at


    12 Plaintiff also cites Semerenko v. Cendant Corp., 223 F.3d 165 (3rd Cir. 2000).
                                                                                           As the Nortel
    court explained, “the opinion never explicitly addressed the standing requirement of Rule 10b–5,
    and this limits its persuasiveness.” Nortel, 369 F.3d at 33. Moreover, Semerenko is readily
    distinguishable. In Semerenko, investors in a target of a tender offer sued the potential acquirer
    after the acquirer allegedly made a series of misstatements about its financial condition and desire
    to complete the tender offer. The alleged misstatements “raise[d] the public’s interest” in the
    target’s stock, and it was “possible that members of the Class would not have purchased shares of
    [the target’s] stock had they been unable to exchange them for shares of [the defendant].” 223
    F.3d at 169-80. Here, the connection between Mr. Zhao’s alleged misstatements and the purported
    securities at issue is nothing like the merger context analyzed in Semerenko.


                                                      -9-
Case 1:23-md-03076-KMM Document 768 Entered on FLSD Docket 10/30/2024 Page 16 of 32




    34-35). Again, he is wrong. It is well-established that “[a]t least one plaintiff must have standing

    to seek each form of relief requested” and “one named plaintiff for each proposed class needs to

    have standing for a particular claim to advance.” Wilding v. DNC Servs. Corp., 941 F.3d 1116,

    1124–25 (11th Cir. 2019).13

           C.      Plaintiff Fails to Plead a Strong Inference of Scienter

           Plaintiff has failed to plead a strong inference of scienter because the reasonable inferences

    opposing scienter are at least as compelling as—if not far more compelling than—the fraudulent

    inferences Plaintiff advances. (MTD at 20-25). The financial benefits that BHL may have

    experienced from FTX’s demise and any rivalries between the two companies are insufficient to

    create a strong inference of scienter here—particularly in light of the competing inferences that

    BHL acted transparently and reasonably by announcing its decision to sell FTT and declining to

    further entangle itself with FTX once the severity of the situation became clear. (MTD at 23).

           In his Opposition, Plaintiff offers up a hodgepodge of arguments that do nothing to weaken

    these competing non-fraud inferences and ultimately boil down to rank speculation that Mr. Zhao

    wanted to destroy the FTX Group. For example, Plaintiff lumps together a handful of tweets—

    including Mr. Zhao’s purported acknowledgement that his tweet about BHL liquidating its

    holdings of FTT may have been the proverbial “straw that broke [FTX’s] back,” his public

    comments on “whale alerts,” and his previous criticism of Elon Musk’s “market-moving” tweets—

    and says this amounts to scienter. (Opp. at 31). Plaintiff also asserts without support that BHL’s


    13 Plaintiff cites many cases in his Opposition that are fully in accord and undermine his argument.

    See Tanne v. Autobytel, Inc., 226 F.R.D. 659, 669 (C.D. Cal. 2005) (class may pursue a claim
    where at least one named plaintiff has standing); In re Initial Pub. Offering Sec. Litig., 214 F.R.D.
    117, 122 (S.D.N.Y. Dec. 22, 2002) (named plaintiffs must have standing); Goldberger v. Bear,
    Stearns Co., 2000 WL 1886605, at *1 n.1 (S.D.N.Y. Dec. 28, 2000) (noting serious question of
    “whether plaintiffs who purchased manipulated securities through one brokerage house can
    represent a class of plaintiffs who purchased different securities through different . . . brokers”).

                                                    -10-
Case 1:23-md-03076-KMM Document 768 Entered on FLSD Docket 10/30/2024 Page 17 of 32




    sales of FTT in July and November 2022 were “intentionally timed” to “trigger market volatility,

    causing a bank run on FTX and leading to its collapse” and that Mr. Zhao’s decision to not pursue

    alternative proposals by FTX “demonstrat[ed] his intent to cause the downfall of a key

    competitor.” (Opp. at 31). But Plaintiff never articulates how these supposed facts give rise to an

    inference of scienter, let alone an inference that is more compelling than non-fraud explanations.

    See Rosenberg v. Gould, 554 F.3d 962, 965 (11th Cir. 2009) (“An inference of scienter must be

    more than merely plausible or reasonable—it must be cogent and at least as compelling as any

    opposing inference of nonfraudulent intent.”). The far more likely inferences to be drawn from

    the totality of Plaintiff’s allegations are that BHL acted transparently by announcing that it had

    decided to sell FTT and, although BHL considered acquiring FTX (subject to due diligence), BHL

    could not move forward because the situation was too dire for BHL to fix.

           D.      Plaintiff Fails to Plead Reliance

           Plaintiff has not alleged that he relied on any misstatements because he does not allege that

    he saw Mr. Zhao’s tweets or that he engaged in any securities transactions based on them.14 (MTD

    at 25). Also, the allegations of reliance by the putative class are internally inconsistent, alleging

    that Mr. Zhao’s purported misstatements caused class members to deposit and withdraw assets

    from FTX. (MTD at 25-26). The fraud-on-the-market theory and Affiliated Ute presumption also

    do not apply here because Plaintiff does not allege that he traded securities in an efficient market,

    Defendants did not owe Plaintiff any duties, and the alleged fraud concerns misstatements, not




    14 Further, Plaintiff alleges that on Nov. 9, 2022 he sold “XRP in response to CZ’s tweets” (Opp.

    at 4), but he does not allege that this was before BHL and Mr. Zhao confirmed that day that the
    acquisition would not be moving forward. (See MTD at 7). This is insufficient to allege that
    Plaintiff took action in reliance on the November 6th and November 8th Tweets.


                                                    -11-
Case 1:23-md-03076-KMM Document 768 Entered on FLSD Docket 10/30/2024 Page 18 of 32




    omissions. (MTD at 26-28). Plaintiff’s arguments in response do not change this analysis. 15

           First, Plaintiff argues that he sold XRP and bought USDT in response to Mr. Zhao’s tweets.

    (Opp. at 4). But this is irrelevant. Even if the Court could consider these allegations,16 Mr. Zhao

    did not make statements about XRP or USDT, and thus the tweets could not have been the basis

    for Plaintiff’s decisions regarding those tokens. See Halliburton Co. v. Erica P. John Fund, Inc.,

    573 U.S. 258, 267 (2014) (“[A] plaintiff can demonstrate reliance . . . by showing that he was

    aware of [the misstatement] and engaged in a relevant transaction—e.g., purchasing [the

    security]—based on that specific misrepresentation.”).

           Second, Plaintiff once again argues that he does not need to plead individual reliance

    because the fraud-on-the-market presumption should apply. (Opp. at 35-36). But Plaintiff does

    not plead sufficient facts to invoke it. The Amended Complaint references the efficiency of the

    market for FTT tokens, not the tokens that Plaintiff actually traded. (AC ¶ 78). Indeed, Plaintiff’s

    Opposition fails to allege that the securities he now names—XRP and USDT—traded in efficient

    markets. Plaintiff’s conclusory allegation that all crypto trading on FTX occurred in an efficient

    market (AC ¶ 78), is insufficient. See Loc. 703, I.B. of T. Grocery & Food Emps. Welfare Fund

    v. Regions Fin. Corp., 762 F.3d 1248, 1257 (11th Cir. 2014) (“[A]lthough trading on a national

    exchange may be relevant . . . District Courts should remain focused on the market for the

    particular stock before them, as FindWhat suggests.”).17




    15 Plaintiff argues that the cases cited in Defendants’ MTD, involving stocks and misstatements by

    directors, are inapplicable because this case involves market manipulation by a direct competitor.
    (Opp. at 39). Plaintiff cites no support for this proposition because there is none.
    16 The Court should disregard these allegations, which were raised for the first time in Plaintiff’s

    Opposition. See supra n.11.
    17 Plaintiffs’ assertion that “investors are presumed to have constructive knowledge of publicly

    available information” (Opp. at 36) also does not suffice to allege reliance.

                                                    -12-
Case 1:23-md-03076-KMM Document 768 Entered on FLSD Docket 10/30/2024 Page 19 of 32




           Finally, Plaintiff argues that the presumption outlined in Affiliated Ute Citizens v. U.S., 406

    U.S. 128 (1972) applies because Mr. Zhao’s statements were partial disclosures that required the

    disclosure of all material facts. (Opp. at 40). But the presumption does not apply because Mr.

    Zhao did not have any duty of disclosure and Plaintiff mixes allegations of omissions and

    misstatements. See In re January 2021 Short Squeeze Trading Litig., 2023 WL 9035671, at *22-

    25 (S.D. Fla. Nov. 13, 2023) (Affiliated Ute presumption unavailable in cases alleging affirmative

    misrepresentations or mixed allegations of omissions and misstatements).

           E.      Plaintiff Fails to Plead Loss Causation

           Plaintiff has failed to plead loss causation because he has not adequately pled a causal

    connection between Mr. Zhao’s tweets and his purported losses. The pled events of SBF’s fraud

    and misuse of customer funds, and the bankruptcy this caused, were intervening events that caused

    Plaintiff’s alleged losses. (MTD at 28-29). Plaintiff’s arguments in his Opposition fall short.

           Plaintiff’s assertion that SBF’s fraud was not the cause of his losses because crypto markets

    rebounded after FTX’s bankruptcy makes no sense. Equally nonsensical is Plaintiff’s claim that

    the brief temporal gap between Mr. Zhao’s tweets and the FTX collapse demonstrates causation.

    (Opp. at 41). Of course, this does not eliminate the causal role that SBF played in destroying FTX,

    as Plaintiff’s own pleading shows. Cf. Principle Sols. Grp., LLC v. Ironshore Indem., Inc., 944

    F.3d 886, 892 (11th Cir. 2019) (“In Georgia, a proximate cause is not necessarily the last act or

    cause, or the nearest act to the injury . . . Instead, it encompasses all of the natural and probable

    consequences of an action, unless there is a sufficient and independent intervening cause.”).

           Plaintiff’s next argument, that outcomes can have multiple “but-for” causes, also does not

    save his securities law claims. There can be no doubt that SBF’s fraud was the primary, if not the

    sole, cause of FTX’s collapse and Plaintiff’s alleged injury. But even accepting Plaintiff’s

    argument that there were multiple causes, Plaintiff simply fails to “show that the defendant’s act”

                                                    -13-
Case 1:23-md-03076-KMM Document 768 Entered on FLSD Docket 10/30/2024 Page 20 of 32




    here—Mr. Zhao tweeting about selling FTT and BHL’s potential acquisition—“was a substantial

    or significant contributing cause” of FTX’s downfall and Plaintiff’s alleged loss. MacPhee v.

    MiMedx Grp., Inc., 73 F.4th 1220, 1241-1242 (11th Cir. 2023).

            F.      Plaintiff Fails to Plead Market Manipulation

            Plaintiff has not pled market manipulation because the only “manipulative acts” he alleges

    are alleged misstatements by Mr. Zhao on Twitter. (MTD at 12). These tweets do not amount to

    market activity, which is required for a market manipulation claim. See In re January 2021 Short

    Squeeze Trading Litig., 620 F. Supp. 3d 1231, 1260 (S.D. Fla. 2022) (“Market manipulation and

    misrepresentation claims differ from one another in several respects[,]” including most notably

    that a “market manipulation claim arises from market activity, rather than a misrepresentation.”).

    Even if he had alleged market activity, his claim would still fail because he has not pleaded

    multiple necessary elements, see id.—namely, reliance or an assumption of an efficient market,

    scienter, and that his alleged losses were in connection with the purchase or sale of securities, as

    explained supra.18 Accordingly, Plaintiff has failed to allege market manipulation.

            G.      Plaintiff Cannot Plead a Claim under Section 17(a)

            Finally, Plaintiff’s suggestion that he can bring a Section 17(a) claim here because other

    circuits might allow it does not change this Circuit’s binding authority forbidding it. See Currie

    v. Cayman Res. Corp., 835 F.2d 780, 784-785 (11th Cir. 1988) (“[S]ection 17(a) does not imply a

    private cause of action and . . . the district court correctly dismissed this theory of relief.”); Smith

    v. Smith, 184 F.R.D. 420, 422 (S.D. Fla. 1998) (“The law in the Eleventh Circuit . . . clearly states

    there is no private right of action under Section 17.”).



    18 Additionally, Plaintiff’s new “pump and dump” theory makes no sense.
                                                                      (Opp. at 3). Plaintiff
    suggests that Mr. Zhao/BHL “dumped” their FTT before the November 6th Tweet, but never
    explains how Mr. Zhao ever “pumped” it.

                                                     -14-
Case 1:23-md-03076-KMM Document 768 Entered on FLSD Docket 10/30/2024 Page 21 of 32




    III.    PLAINTIFF FAILS TO STATE A CLAIM UNDER CALIFORNIA STATUTORY
            LAW (COUNTS III & IV)

            A.      Plaintiff Fails To State a Claim Under California’s UCL

            Plaintiff’s UCL claim fails because Plaintiff did not plead that Defendants engaged in any

    unlawful, fraudulent, or unfair practices; that he relied on the alleged misrepresentations; or that

    Mr. Zhao’s tweets caused his injuries. (MTD at 30-33). Plaintiff makes several arguments in

    response, but each fails to rebut Defendants’ showings.

            First, Plaintiff argues that Mr. Zhao’s actions were unlawful under federal securities law

    and California state law. (Opp. at 43). But as set forth in Defendants’ MTD (at 12, 30), supra

    Section II, and infra Section III.B, Plaintiff fails to allege a securities law violation and thus fails

    to allege unlawful acts under the UCL. See Elias v. Hewlett-Packard Co., 903 F. Supp. 2d 843,

    859 (N.D. Cal. 2012) (“Because the Court finds that Plaintiff did not plausibly allege any statutory

    violations, it concurrently finds that Plaintiff fails to plausibly allege violation of the unlawful

    prong of the UCL.”). Plaintiff’s argument that Mr. Zhao’s “conduct in selling his FTT holdings

    before making public disclosures” constituted a “primary violation” of California Corporations

    Code § 25401 (Opp. at 44) is similarly implausible. As discussed in Section II with respect to

    Plaintiff’s Section 10(b) claim, Plaintiff does not allege any facts showing that Defendants made

    any material misstatement or omission in connection with the sale of securities. See Jackson v.

    Fischer, 931 F. Supp. 2d 1049, 1064 (N.D. Cal. 2013) (allegations that defendant solicited loans

    and investments from plaintiff without making disclosures failed to state a § 25401 claim because

    plaintiff alleged no facts showing that defendants materially assisted in violations of other

    securities laws, with intent to defraud). This sale also does not support Plaintiff’s UCL claim.

            Second, Plaintiff argues that Mr. Zhao engaged in an unlawful and unfair practice by

    engaging in two large FTT transactions while making purportedly misleading social media posts.


                                                     -15-
Case 1:23-md-03076-KMM Document 768 Entered on FLSD Docket 10/30/2024 Page 22 of 32




    (Opp. at 43). This argument also fails.19 To start, and as discussed above in Section II and in the

    MTD (see MTD at 24), the tweets were not misleading. Moreover, Plaintiff also fails to plead

    facts that suggest that either sale was unfair (i.e., immoral, unethical, oppressive, unscrupulous or

    substantially injurious to consumers) or unlawful (i.e., forbidden by any law). (See MTD at 31).

           Third, Plaintiff now asserts that Mr. Zhao engaged in an unfair business practice under the

    UCL by “us[ing] customer funds to buy back FTT.” (Opp. at 44). Yet again, this theory is not

    pled anywhere in Plaintiff’s Amended Complaint and should therefore be disregarded. See supra

    n.11. It is also unclear what practice Plaintiff alleges harmed him.20 To the extent Plaintiff is

    challenging when BHL sold its equity interest in FTX and FTX allegedly using customer funds to

    pay BHL, this fails to state a claim. If anyone harmed Plaintiff in this transaction, it was FTX—

    who allegedly used the customer funds—not BHL, which would have had no way of knowing how

    FTX financed the payments. Additionally, to the extent that Plaintiff bases his UCL unfairness

    prong claim on the same alleged conduct underlying his deficient fraudulent and unlawful prong

    claims, he fails to state a claim. See HomeLight, Inc. v. Shkipin, 2024 WL 940089, at *4 (N.D.

    Cal. Mar. 5, 2024) (dismissing unfairness claim when it was “based on the same alleged conduct

    underlying the dismissed unlawful and fraudulent prong claims”).



    19 In the Amended Complaint, Plaintiff alleged only one sale of FTT, in November 2022.
                                                                                                  (AC ¶
    11). He now asserts, for the first time in his Opposition, that there was an additional sale in July
    2022. (Opp. at 31). This new theory of multiple FTT transactions is not pled in the Amended
    Complaint and therefore cannot save Plaintiff’s claim. See Dorman v. Aronofsky, 36 F.4th 1306,
    1317 (11th Cir. 2022) (“[F]acts contained in a motion or brief cannot substitute for missing
    allegations in the complaint.”).
    20 Plaintiff cites Section II(B)-(E) of his brief in support of this argument.
                                                                                But nothing in these
    sections describes a transaction where BHL used customer funds to “buy back” FTT. Indeed, the
    sections describe BHL selling FTT. For purposes of this claim, Defendants assume that Plaintiff
    is attempting to describe the “improper use of FTX customer funds to pay off [Mr. Zhao’s] equity
    in FTX” (Opp. at 26)—not transactions related to FTT—which Plaintiff says forms the basis for
    his unjust enrichment claim.

                                                    -16-
Case 1:23-md-03076-KMM Document 768 Entered on FLSD Docket 10/30/2024 Page 23 of 32




           Fourth, Plaintiff argues that UCL claims raise questions of fact that preclude early

    dismissal. (Opp. at 18 (citing Moore v. Mars Petcare US, Inc., 966 F.3d 1007, 1017 (9th Cir.

    2020))). But as Moore explains, “if common sense would not lead anyone to be misled, then the

    claim may be disposed of at a motion to dismiss stage.” Id. at 1018. Indeed, courts regularly

    dismiss UCL claims where, as here, the challenged statements are not deceptive on their face. See

    Romoff v. Gen. Motors LLC, 574 F. Supp. 3d 782, 788-789 (S.D. Cal. 2021) (granting motion to

    dismiss UCL claims where the claims relied on dictionary definitions for terms to prove consumer

    reasonableness), aff’d, 2023 WL 1097258 (9th Cir. Jan. 30, 2023); Elias, 903 F. Supp. 2d at 855

    (dismissing UCL claim where statements did not contain any factual misrepresentations on their

    face). Here, there is no plausible reading of Mr. Zhao’s tweets other than that they were truthful

    and not misleading. See supra Section II.

           Fifth, with respect to reliance, Plaintiff argues that actual reliance can be inferred because

    a presumption of reliance is appropriate when material misrepresentations are pervasively

    disseminated to potential plaintiffs. (Opp. at 35, 40). Although such a presumption may arise in

    limited circumstances, it is not applicable here. Plaintiff must plead actual reliance, alleging that

    “the defendant's misrepresentation or nondisclosure was an immediate cause of the plaintiff’s

    injury-producing conduct.” Rojas-Lozano v. Google, Inc., 159 F. Supp. 3d 1101, 1118 (N.D. Cal.

    2016) (citing In re Tobacco II Cases, 207 P.3d 20 (Cal. 2009)). As many courts in California have

    explained, this means that “a plaintiff must still at a minimum allege that he saw the representation




                                                    -17-
Case 1:23-md-03076-KMM Document 768 Entered on FLSD Docket 10/30/2024 Page 24 of 32




    at issue.” 21 Plaintiff does not and thus fails to plead reliance. 22

            Lastly, Plaintiff asserts that causation is alleged adequately because injuries can have

    multiple causes. (Opp. at 34). Plaintiff ignores the large body of case law holding that a defendant

    cannot be held liable under the UCL “if he or she would have suffered the same harm whether or

    not a defendant complied with the law.” Haynish v. Bank of Am., N.A., 284 F. Supp. 3d 1037,

    1051 (N.D. Cal. 2018) (dismissing UCL claim for failure to establish causation where the but-for

    cause of plaintiff’s injury, foreclosure, was the default on their loan, not any violations by the

    defendants). Plaintiff insists that “[a]bsent [Mr. Zhao’s] tweets, there was no reason for FTX to

    declare bankruptcy” (Opp. at 41), but this ignores SBF’s historic fraud—the actual but-for cause

    of the FTX bankruptcy and Plaintiff’s injury. (See MTD at 1, n.2). Plaintiff’s claim fails because

    he does not and cannot allege facts demonstrating that Mr. Zhao’s two Tweets caused any injuries

    or that he would not have been injured absent the statements.

            B.      Plaintiff Fails to State a Claim for Secondary Liability Under the
                    California Corporations Code

            Plaintiff fails to allege a secondary liability claim under Section 25504.123 because he does



    21 Figy v. Amy’s Kitchen, Inc., 2013 WL 6169503, at *4 (N.D. Cal. Nov. 25, 2013) (dismissing

    plaintiff’s UCL claim where he did not allege actual reliance). See also Rojas-Lozano, 159 F.
    Supp. 3d at 1114 (“Plaintiff’s insistence that she is nonetheless entitled to an inference of reliance
    is wrong” where she “failed to allege what she saw, what she believed as a result, how knowledge
    would impact her behavior, or facts that otherwise support a reasonable inference that an omitted
    fact was material.”). C.f. Mazza v. Am. Honda Motor Co., Inc., 666 F.3d 581, 595 (9th Cir. 2012)
    (at class certification there was no presumption of reliance “because it is likely that many class
    members were never exposed to the allegedly misleading advertisements”) (overruled on other
    grounds); Colman v. Theranos, Inc., 325 F.R.D. 629, 642 (N.D. Cal. 2018).
    22 Plaintiff again asserts “market reliance on [Mr. Zhao’s] tweets under the fraud on the market

    theory.” (Opp. at 4). But California common law does not recognize any market-wide
    presumption of reliance. (MTD at 33, n.29).
    23 To state a § 25504.1 claim, Plaintiff must allege with particularity a primary securities violation

    of Cal. Corp. Code § 25110 (which, like Section 12(a) of the Securities Act, makes it unlawful to


                                                       -18-
Case 1:23-md-03076-KMM Document 768 Entered on FLSD Docket 10/30/2024 Page 25 of 32




    not allege: the offer or sale of a security in California, a primary violation of Section 25110 or

    25401, privity with BHL or Mr. Zhao, that Defendants “materially assisted” a primary violation,

    or that Defendants acted “with intent to deceive.” (MTD at 33-35).

           Plaintiff’s claim fails because he offers no response to Defendants’ argument that he fails

    to allege a securities transaction in California. “When a party fails to respond to an argument or

    otherwise address a claim, the Court deems such argument or claim abandoned.” Jones v. Bank

    of Am., N.A., 564 F. App'x 432, 434 (11th Cir. 2014); see also GolTV, Inc. v. Fox Sports Latin Am.

    Ltd., 277 F. Supp. 3d 1301, 1311 n.7 (S.D. Fla. 2017) (same).

           Plaintiff asserts that the Amended Complaint pleads a primary violation alleging that Mr.

    Zhao, acting through a Binance entity, “offloaded his equity in the FTX Group in two substantial

    transactions—one in July and another in November 2022.” (Opp. at 44). Plaintiff argues that

    these transactions establish privity between him and Defendants because Defendants exercised

    control over FTX and Plaintiff was in direct privity with FTX. These assertions make little sense,

    and even if this theory had been adequately pled, it fails. For one, Plaintiff groups BHL’s sales of

    its equity position in FTX (AC ¶¶ 6, 47) and FTT (an FTX-affiliated utility token, see AC ¶¶ 6,

    11) as sales of “equity in the FTX Group” without any explanation. Indeed, BHL’s divestment of

    its FTX equity stake, which Plaintiff alleges took place in 2021, cannot serve as a primary violation

    for the putative class claims here. 24 Plaintiff alleges no facts suggesting that there was any

    manipulation or misrepresentation related to this transaction, or that this transaction had to be




    sell unregistered securities) or Cal. Corp. Code § 25401 (which, like Section 10(b) of the Exchange
    Act, makes it unlawful to buy or sell securities while making material misstatements).
    24 Plaintiff seeks to represent classes of investors with deposits at FTX “during the time period of

    volatility starting before November 6, 2022 and ending after November 8, 2022.” (AC ¶¶ 81 -82).
    A purported primary securities law violation from 2021 is irrelevant to this putative class.

                                                    -19-
Case 1:23-md-03076-KMM Document 768 Entered on FLSD Docket 10/30/2024 Page 26 of 32




    registered. Plaintiff also fails to allege that BHL’s FTT sales were illegal under the securities laws.

    As set forth in Section II, Mr. Zhao’s tweets regarding BHL’s FTT sales were not misleading. And

    Plaintiff does not allege facts sufficient to show that FTT was a security requiring registration.

    Additionally, even if Plaintiff adequately alleged that the Defendants sold FTX equity or FTT in a

    fraudulent manner, Plaintiff did not purchase FTT or FTX equity. He has no standing to pursue

    claims relating to these transactions and cannot demonstrate the requisite privity. 25

            Regarding material assistance, Plaintiff argues that the other Defendants materially assisted

    Mr. Zhao in violation of the securities statutes because “[t]hey facilitated the transactions through

    the provision of software and platforms, enabling cryptocurrency transactions in FTT, BUSD, and

    fiat currency in exchange for FTX equity.” (Opp. at 45). This is also not pled in the Amended

    Complaint, and would be implausible even if it was pled. Plaintiff alleges that BHL and Mr. Zhao

    sold FTX equity back to FTX. (AC ¶¶ 47). Nothing in that allegation suggests BHL or Mr. Zhao

    provided platforms or software that allowed for unspecified persons to trade FTT, BUSD, and fiat

    currency in exchange for FTX equity. Nor does Plaintiff explain how providing such software and

    platforms would materially assist any alleged fraud relating to BHL’s sale of its FTX equity.

            Finally, Plaintiff ignores Defendants’ argument that actual knowledge of the alleged

    primary violation must be shown and therefore waives opposition to it. See GolTV, Inc., 277 F.

    Supp. 3d at 1311 n.7.


    25 Plaintiff misrepresents the statements of law in Moss v. Kroner, 197 Cal. App. 4th 860 (Cal. Ct.

    App. 2011). Plaintiff cites it for the proposition that “California law permits indirect privity, where
    ‘[t]he person alleged to be controlled by the defendants must be alleged to be in privity with the
    plaintiffs.’” (Opp. at 44, citing Moss, 197 Cal. App. 4th at 875). This language is about § 25504,
    another secondary liability statute, not § 25401 as Plaintiff implies. Indeed, the Moss Court
    explicitly held that secondary liability may exist under §§ 25504 and 25504.1 “as long as primary
    liability is stated or established with the privity required by section 25501 and a violation of section
    25401.” Moss, 197 Cal. App. 4th at 875. Plaintiff has not established any primary liability here,
    and therefore may not argue secondary liability in the guise of “indirect privity” here.

                                                     -20-
Case 1:23-md-03076-KMM Document 768 Entered on FLSD Docket 10/30/2024 Page 27 of 32




    IV.    PLAINTIFF FAILS TO STATE A CLAIM UNDER CALIFORNIA COMMON
           LAW (COUNTS V, VI, VII)

           A.      Plaintiff Fails to State a Claim for Intentional Misrepresentation or
                   Negligent Misrepresentation

           Plaintiff also fails to rebut Defendants’ arguments that his claims for intentional

    misrepresentation and negligent misrepresentation fail for many of the same reasons his federal

    claims fail. He does not adequately allege: false statements (see MTD at 36, supra Section II);

    that the Defendants acted with the requisite scienter—i.e. with the knowledge that the alleged

    misstatements were false for the intentional misrepresentation claim (see MTD at 36, supra

    Section II); without reasonable grounds for believing the statements were true for the negligent

    misrepresentation claim (MTD at 37-38); or that he actually and justifiably relied on the alleged

    misrepresentation (MTD at 36-37; supra Section II). Plaintiff also fails to allege that Defendants

    owed him a duty of care, a necessary element of the negligent misrepresentation claim.

           In his Opposition, Plaintiff recycles the same arguments that do not save his securities law

    claims. For example, Plaintiff asserts that Mr. Zhao’s statements were half-truths. As set forth

    above in Section II and in Defendants’ MTD (at 2, 3, 14-17), Mr. Zhao’s statements were accurate

    and not misleading. 26 Plaintiff also asserts that the short period of diligence BHL conducted with

    respect to the potential acquisition of FTX implies that BHL never intended to acquire FTX and

    that Mr. Zhao acted with scienter in making his statements. But as discussed above, an equally (if

    not more) plausible reading is that BHL learned facts about FTX’s dire financial situation during

    diligence and decided to walk away. Because such a plausible, non-fraud explanation exists,




    26 Because Mr. Zhao’s statements were accurate and not misleading, they did not create a duty to

    make additional disclosures regarding BHL’s FTT transactions or potential acquisition of FTX.
    (Opp. at 25 (“Once [Mr. Zhao] made initial disclosures, he was obligated to provide the complete
    truth.”)).

                                                   -21-
Case 1:23-md-03076-KMM Document 768 Entered on FLSD Docket 10/30/2024 Page 28 of 32




    Plaintiff has not met his burden to plead falsity or scienter with particularity. See McGee v. Am.

    Oriental Bioengineering, Inc., 2014 WL 12586107, at *17 (C.D. Cal. Sept. 23, 2014) (scienter and

    falsity not alleged where plausible, non-fraud explanations for defendants’ conduct existed).

            Plaintiff also asserts that he has sufficiently alleged falsity and scienter because “[Mr.

    Zhao], SBF, and independent cryptocurrency experts have acknowledged that [Mr. Zhao’s] tweets

    were a direct catalyst for FTX’s bankruptcy.” (Opp. at 46 (citing AC ¶¶ 50-51, Ex. 3, 25, 30, 31,

    51)). But whether or not Mr. Zhao, SBF, or independent cryptocurrency experts believe that Mr.

    Zhao’s tweets had any impact on FTX is entirely irrelevant to whether or not the statements were

    true. It is also irrelevant as to whether or not Mr. Zhao made the statements with severe

    recklessness or with an intent to deceive, manipulate, or defraud at the time.27 In re REMEC Inc.

    Sec. Litig., 702 F. Supp. 2d 1202, 1229 (S.D. Cal. 2010) (third-party statements had no impact on

    question of statement’s falsity). 28

            Finally, Plaintiff asserts that Defendants owed him a duty of care because Plaintiff and the

    class “fall within the category of persons [Mr. Zhao] and the Defendants intended to influence

    through their misstatements” while knowing “with substantial certainty that they would rely on

    these statements.” (Opp. at 45).29 Although a duty of care may flow to “a specific class of persons



    27 The statements in question show on their face that they have nothing to do with the tweets’

    truthfulness or lack thereof. (See, e.g. AC ¶ 42 (quoting an interview where Mr. Zhao stated: “I
    actually reflect on the FTX situation and I kind of blame myself for tweeting that too late. As an
    industry, we let FTX get too big before we started questioning some of these things.”)).
    28 Furthermore, as discussed above in Section II, scienter also cannot be inferred from any alleged

    rivalry with SBF (AC ¶¶ 2, 37-42) or from post-event comments “lacking remorse” (AC ¶ 42). It
    also cannot be inferred from Mr. Zhao’s demonstrated knowledge of the impact on cryptocurrency
    users (AC ¶¶ 58-64), or Mr. Zhao’s awareness of his position as an industry leader (AC ¶¶ 61, 65,
    Ex. 18). Plaintiff’s allegations of actual and justifiable reliance are insufficient to allege claims
    for the same reasons set forth above in Section II. (See also MTD at 36-37).
    29 To the extent Plaintiff argues a duty of care arose from equity ownership in FTX (Opp. at 5, 47-




                                                    -22-
Case 1:23-md-03076-KMM Document 768 Entered on FLSD Docket 10/30/2024 Page 29 of 32




    involved in a transaction that the defendant supplier of information intends the information to

    influence,” liability may only be imposed upon “a defendant who supplies information with the

    intent to influence a defined and limited group of prospective plaintiffs.” Apex Directional

    Drilling, LLC v. SHN Consulting Eng’r & Geologists, Inc., 119 F. Supp. 3d 1117, 1126 (N.D. Cal.

    2015). Plaintiff’s argument manufactures a duty for Defendants that would apply to anyone who

    viewed Mr. Zhao’s tweets—a potentially unlimited universe of claimants that have not been

    alleged to rely on the tweets. This is not the law. See In re Wyse Tech. Sec. Litig., 744 F. Supp.

    207, 209 (N.D. Cal. 1990) (no duty of care to plaintiffs who were open-market purchasers of stock

    who did not claim to have received or relied on the statements at issue). Moreover, Plaintiff does

    not allege any facts suggesting Mr. Zhao intended to influence Plaintiff or anyone else.

           B.      Plaintiff Fails To State a Claim for Unjust Enrichment

           Plaintiff’s claim for unjust enrichment fails because he does not identify the relevant state

    law, and, to the extent the claim is asserted under California law, he fails to allege that Defendants

    received a benefit at his expense or that legal remedies are inadequate. (MTD at 39-40). In

    response, Plaintiff asserts that California law applies and that Defendants were unjustly enriched

    because FTX allegedly used customer assets to repurchase BHL’s equity stake in FTX. (Opp. at

    26, 47-48).30 This does not save his claim.

           First, Plaintiff has not conferred any benefit on Defendants. Indeed, Plaintiff admits that

    he only “effectively” conferred a benefit on Defendants. (Opp. at 47). Such an indirect conferral




    48), such an argument must be rejected. At the time Mr. Zhao made the challenged statements in
    November 2022, BHL had divested from its relevant equity interest in FTX. (AC ¶ 11).
    30 Plaintiff’s allegation that FTX repurchased BHL’s equity stake in FTX using customer funds

    obviously contradicts his assertion that SBF’s fraud played no role in FTX’s downfall.


                                                    -23-
Case 1:23-md-03076-KMM Document 768 Entered on FLSD Docket 10/30/2024 Page 30 of 32




    is not sufficient to state a claim. 31 A plaintiff must plead that he conferred a direct benefit on the

    defendant. See Coast Surgery Ctr. v. United Healthcare Ins. Co., 2024 WL 650174, at *4 (C.D.

    Cal. Jan. 5, 2024) (healthcare provider’s unjust enrichment claim against an insurer that allegedly

    underpaid claims failed because the provider conferred a benefit on patients (the insurer’s

    members), not the insurer itself, and this did not qualify as a “direct benefit” to the defendant).

           Second, Plaintiff argues that the duplicative remedy principle set forth in Rabin v. Google

    LLC, 2023 WL 4053804 (N.D. Cal. June 15, 2023) is inapplicable here. (Opp. at 48). But this is

    a non-sequitur. Plaintiff’s claim does not fail because it is duplicative of another claim—it fails

    because he does not allege that he lacks an adequate remedy at law. “[A] plaintiff seeking equitable

    relief must, at a minimum, allege that he lacks adequate remedies at law.” Id. at *14 (dismissing

    restitution claim where plaintiffs “fail[ed] to plead any facts as to why the damages they seek under

    their breach of contract claim is an inadequate remedy”). Here, Plaintiff has brought multiple

    claims that could provide an adequate remedy (see AC Counts I-VI) if his claims had been properly

    pled, and accordingly does not and cannot plead that legal remedies would be inadequate.

    V.     THIS COURT SHOULD DENY PLAINTIFF’S CONDITIONAL REQUEST FOR
           LEAVE TO AMEND

           The Court should reject Plaintiff’s request for leave to further amend his Amended




    31 Astiana v. Hain Celestial Grp., Inc., 783 F.3d 753, 762-63 (9th Cir. 2015) (Opp. at 47) is

    distinguishable. Unlike the Plaintiff here, the plaintiffs in Astiana conferred a direct benefit on the
    defendants by purchasing the defendants’ products while relying on allegedly false product labels.
    Id. at 756, 762. Furthermore, Plaintiff’s attempt to distinguish Siegler v. Curb Call, Inc., 2017
    WL 6730095, at *8 (S.D. Cal. Dec. 29, 2017) (Opp. at 47-48) is unpersuasive. In Siegler, the
    plaintiff was a shareholder in a company that conveyed certain assets to the defendant in exchange
    for payments to the shareholders of the conveying company. Id. at *1. The court held that the
    shareholder plaintiff did not state a claim for unjust enrichment because the conveying company,
    not the plaintiff, enriched the defendant. Id. at *8. The same conclusion follows here. If any
    benefit was conveyed to BHL, it was from FTX. Plaintiff does not and cannot allege that he
    personally enriched BHL.

                                                     -24-
Case 1:23-md-03076-KMM Document 768 Entered on FLSD Docket 10/30/2024 Page 31 of 32




    Complaint. (Opp. at 48; see also Motion for Leave). Plaintiff asserts that he “must be given at

    least one chance to amend the complaint before the district court dismisses the action with

    prejudice.” (Opp. at 48). But Plaintiff has already amended his complaint. A court may dismiss

    a case with prejudice “after a plaintiff has had an opportunity to amend.” Chiron Recovery Ctr.,

    LLC v. United Healthcare Servs., Inc., 438 F. Supp. 3d 1346, 1356 (S.D. Fla. 2020).

            Plaintiff also offers no reason to think that a second amended complaint would be “more

    carefully drafted” than his previous complaints. (Opp. at 48). Indeed, Plaintiff fails to attach a

    copy of the proposed amendment or to set forth the substance of any proposed amended pleading.

    See U.S. ex rel. 84Partners, LLC v. Nuflo, Inc., 79 F.4th 1353, 1363 (11th Cir. 2023) (“A plaintiff

    who moves for leave to amend a complaint must either attach a copy of the proposed amendment

    to the motion or set forth the substance thereof.”). The Motion for Leave offers no explanation,

    as it is “only made conditionally” in case this Court “agree[s] with Defendants at least in part.”

    Motion for Leave at 2, 3. The Motion for Leave is little more than an afterthought that Plaintiff

    tacks to the end of his Opposition. It falls far short of adequately requesting leave to amend. See

    In re January 2021 Short Squeeze Trading Litig., 584 F. Supp. 3d 1161, 1204 (S.D. Fla. 2022)

    (“Plaintiffs’ failure to explain how next time will be different does not inspire confidence in their

    ability to state a claim”).

            In any event, amendment would be futile. Even if this Court were to accept as true all of

    the documents and facts Plaintiff raises for the first time in his Opposition, none of them would

    change the fundamental insufficiency of Plaintiff’s arguments and pleadings. See Siegmund v.

    Xuelian Bian, 2018 WL 1611197, at *10. (S.D. Fla. Apr. 2, 2018) (amendment is futile when new

    alleged facts “consistent with the challenged pleading could not possibly cure the deficiency”).

                                             CONCLUSION

            The Amended Complaint should be dismissed in its entirety with prejudice.

                                                    -25-
Case 1:23-md-03076-KMM Document 768 Entered on FLSD Docket 10/30/2024 Page 32 of 32




    Dated: October 30, 2024
           Miami, Florida

                                        /s/ Samson A. Enzer
                                        Samson A. Enzer (senzer@cahill.com)
                                        Herbert S. Washer (hwasher@cahill.com)
                                        Tammy L. Roy (troy@cahill.com)
                                        Miles C. Wiley (mwiley@cahill.com)
                                        CAHILL GORDON & REINDEL LLP
                                        32 Old Slip
                                        New York, NY 10005
                                        Telephone: (212) 701-3000

                                        Attorneys for Binance Holdings Limited and
                                        Changpeng Zhao

                                        Aaron S. Weiss (aweiss@carltonfields.com)
                                        CARLTON FIELDS P.A.
                                        700 NW 1st Ave., Ste. 1200
                                        Miami, FL 33136
                                        Telephone: 305-530-0050

                                        Benjamin M. Stoll (bstoll@carltonfields.com)
                                        John L. Gibbons (jgibbons@carltonfields.com)
                                        CARLTON FIELDS P.A.
                                        1025 Thomas Jefferson St. NW, Ste. 400W
                                        Washington, DC 20007
                                        Telephone: 202-986-8160

                                        Attorneys for Binance Holdings Limited




                                       -26-
